               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:13 CR 79-5


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )           ORDER
                                              )
RAMONA JAMISON LAIL,                          )
                                              )
                  Defendant.                  )
____________________________________          )


        THIS MATTER came on before the undersigned pursuant to a Motion to

Modify Conditions of Release (#147) filed by counsel for Defendant.           In the

motion, Defendant requests that she be released from electronic monitoring while

she is on pretrial release.   On May 5, 2014 the Defendant entered a plea of guilty

to the charge contained in count one of the bill of indictment, that being conspiracy

to distribute and possess with intent to distribute a quantity of methamphetamine in

violation of 21 U.S.C. § 841(a)(1)(6). After the entry of the plea of guilty, the

undersigned held a hearing pursuant to 18 U.S.C. § 3143(a)(2) and found that the

terms and conditions of pretrial release of Defendant would have to be revoked and

the Defendant be detained pending sentencing and further proceedings in the

matter. As a result, the motion will be denied.




                                          1

      Case 1:13-cr-00079-MR-WCM      Document 157    Filed 05/06/14   Page 1 of 2
                                 ORDER

     IT IS, THEREFORE, ORDERED that the Motion to Modify Conditions

of Release (#147) is hereby DENIED.

                                                Signed: May 6, 2014




                                      2

   Case 1:13-cr-00079-MR-WCM    Document 157   Filed 05/06/14         Page 2 of 2
